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UNITED STATES DISTRICT COURT MAY 13 ON9h
FOR THE — ~!
Northen Di stytt at Tz vA UNITED STATES DISTRICT COURT

NORTHERN DIST RICT OF HOWA

UNITED STATES OF AMERICA,
Plaintiff,

Ve Case No.: (Za ) : os C16 0022 - Od)

Cntee| : OgbonTOrmes _,

Defendant,

/

MOTION FOR MODIFICATION OR REDUCTION OF SENTENCE

PURSUANT TO 18 U.S.C. § 3582(c)(2)

(GUIDELINE AMENDMENT NO. 821)

I hereby request a modification or reduction of my sentence pursuant to
18 U.S.C. § 3582(c)(2) and Amendment 821 to the United States Sentencing
Guidelines. First, Amendment 821 decreases "Status Points" by one point for
defendants with seven or more criminal history points and eliminated "Status
Points" for defendants with six or fewer criminal history points. "Status
Points" are those points that were applied under then United States Sentencing
Guideline (U.S.S.G.) §$ 4Al.1(d) if the defendant committed his or her federal
offense while on probation, parole, supervised release, imprisonment, work
release, or escape status. Second, Amendment 821 provides for a decrease of
two offense levels for "Zero-Point Offenders" (no criminal history points),
whose offense did not involve specific aggravating factors. The change is
retroactive as of November 1, 2023, and has an effective date of February 1,

2024. In support of this motion, I state as follows:

1. I am serving a current term of imprisonment at Federal Correctional

Institution Milan, located in Milan, Michigan.

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2. My presentence report:

iT acawaes "Status Points" in the calculation of my criminal history
score under then - U.S.S.G. § 4Al.1(d).

- scored me as having zero criminal history points.

3. I was sentenced in Nob Yorn Distachot Love, on 1/3) (2024

to a term of 12) months in prison.

A, My projected release date is 10-Lb ~ 203) . I understand that the

Amendment does not authorize release of any defendant before February 1, 2024.

5. I hereby request a court-appointed attorney. I understand appointment of
counsel is discretionary with the Court. I request the Court to allow me to

roceed forma pauperis.

Signature of Petitioner: Lab AM sverise Date: 5-3 722 zy
Print or Type Name: (g /fo/) Or ebe! Reg. No. C170 -4/0
Current Address: AOL Milan f).0 Box [000 Miloa [Michigan Y3/b0

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